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                         IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                                       )     Chapter 11
    In re:                                             )
                                                       )     Case No. 19-bk-30289
    Blackjewel, L.L.C., et al.,                        )
                                                       )     (Jointly Administered)
             Debtors.1                                 )
                                                       )
                                                       )
                                                       )     Chapter 11
    In re:                                             )
                                                       )     Case No. 19-bk-30323
    Dominion Coal Corporation,                         )
                                                       )     (Joint Administration Requested)
             Debtor.                                   )
                                                       )
    FEIN: XX-XXXXXXX                                   )
                                                       )     Chapter 11
    In re:                                             )
                                                       )     Case No. 19-bk-30324
    Harold Keene Coal Co. LLC,                         )
                                                       )     (Joint Administration Requested)
             Debtor.                                   )
                                                       )
    FEIN: XX-XXXXXXX                                   )
                                                       )     Chapter 11
    In re:                                             )
                                                       )     Case No. 19-bk-30325
    Vansant Coal Corporation,                          )
                                                       )     (Joint Administration Requested)
             Debtor.                                   )
                                                       )
    FEIN: XX-XXXXXXX                                   )




1
 The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification number
are as follows: Initial Debtors: Blackjewel, L.L.C. (0823); Blackjewel Holdings L.L.C. (4745); Revelation
Energy Holdings, LLC (8795); Revelation Management Corporation (8908) and Revelation Energy, LLC (4605).
New Debtors: Dominion Coal Corporation (2957); Harold Keene Coal Co. LLC (6749); Vansant Coal Corporation
(2785); Lone Mountain Processing, LLC (0457); Powell Mountain Energy, LLC (1024) and Cumberland River Coal
LLC (2213). The headquarters for each of the Debtors is located at 1051 Main Street, Milton, West Virginia
25541-1215.


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                                                   )     Chapter 11
 In re:                                            )
                                                   )     Case No. 19-bk-30326
 Lone Mountain Processing, LLC,                    )
                                                   )     (Joint Administration Requested)
           Debtor.                                 )
                                                   )
 FEIN: XX-XXXXXXX                                  )
                                                   )     Chapter 11
 In re:                                            )
                                                   )     Case No. 19-bk-30327
 Powell Mountain Energy, LLC,                      )
                                                   )     (Joint Administration Requested)
           Debtor.                                 )
                                                   )
 FEIN: XX-XXXXXXX                                  )
                                                   )     Chapter 11
 In re:                                            )
                                                   )     Case No. 19-bk-30328
 Cumberland River Coal, LLC,                       )
                                                   )     (Joint Administration Requested)
           Debtor.                                 )
                                                   )
 FEIN: XX-XXXXXXX                                  )

            DEBTORS’ SUPPLEMENTAL MOTION FOR AN ORDER
    AUTHORIZING JOINT ADMINISTRATION OF ADDITIONAL CHAPTER 11
   CASES PURSUANT TO FED. R. BANKR. P. 1015(b) AND LOCAL RULE 1015-1(b)

          Blackjewel, L.L.C., and its affiliated debtors and debtors-in-possession (collectively, the

“Debtors”) in the above-captioned chapter 11 cases, hereby move this Court, pursuant to

Rule 1015(b) of the Federal Rules of Bankruptcy Procedures (the “Bankruptcy Rules”) and

Rule 1015-1(b) of the Local Bankruptcy Rules for the United States Bankruptcy Court for the

Southern District of West Virginia (the “Local Rules”), for entry of an order authorizing joint

administration of six (6) newly-filed chapter 11 cases (the “New Cases”), which were filed

contemporaneously herewith, with their five initially-filed chapter 11 cases (the “Original Cases”),

which were ordered to be jointly administered by the Court on July 3, 2019 [Docket No. 60] (the

“Joint Administration Order”). In support of this motion, the Debtors respectfully state as follows:


                                                   2

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                                   JURISDICTION AND VENUE

         1.       This Court has jurisdiction to consider this motion pursuant to 28 U.S.C. §§ 157

and 1334.

         2.       This is a core proceeding under 28 U.S.C. § 157(b), and the Debtors consent to

entry of a final order by the Court in connection with this motion to the extent it is later determined

that the Court, absent consent of the parties, cannot enter final orders or judgments in connection

herewith consistent with Article III of the United States Constitution.

         3.       Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

         4.       The statutory bases for the relief requested herein are Bankruptcy Rule 1015(b) and

Local Rule 1015-1(b).

                                          BACKGROUND

         5.       On July 1, 2019 (the “Petition Date”), each of Debtors Blackjewel, L.L.C.;

Blackjewel Holdings L.L.C.; Revelation Energy Holdings, LLC; Revelation Management

Corporation and Revelation Energy, LLC filed a voluntary petition for relief with the Court under

chapter 11 of the Bankruptcy Code. The Debtors are continuing to operate and maintain their

business as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

On July 3, 2019, the Court entered the Joint Administration Order.

         6.       On July 3, 2019, the Office of the United States Trustee for Region 4, the District

of West Virginia (the “U.S. Trustee”), appointed an official committee of unsecured creditors

[Docket No. 46] (the “Creditors’ Committee”). As of the date hereof, no party has requested the

appointment of a trustee or an examiner in these chapter 11 cases.

         7.       The Debtors in the New Cases have no employees, are not producing coal and

generally are not operating. Generally speaking, these Debtors merely hold certain assets such as



                                                   3

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mining permits and licenses that are related to or necessary for the operations conducted by Debtor

Blackjewel, L.L.C. Given the urgency surrounding the filing of the Original Cases, there was not

sufficient time to prepare the filing of the New Cases.

         8.       A description of the Debtors’ business and the reasons for filing these chapter 11

cases is set forth in the Declaration of Jeff A. Hoops, Sr. in Support of Chapter 11 Filings and

First-Day Motions (the “First Day Declaration”) [Doc. No. 14].2

                                          RELIEF REQUESTED

         9.       By this motion, the Debtors respectfully request entry of an order, substantially in

the form attached hereto as Exhibit A, directing (a) the consolidation and joint administration of

the Debtors’ New Cases with the Original Cases for procedural purposes only pursuant to

Bankruptcy Rule 1015(b) and Local Rule 1015-1(b); (b) the use of single case docket and

Bankruptcy Rule 2002 notice list in these cases; and (c) the use of a consolidated case caption, all

as set forth in greater detail below.

         10.      The Debtors further request that the Court approve and require for use on all

documents filed and entered in the jointly administered cases the following consolidated case

caption:

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2
  Mr. Hoops resigned his positions as officer and director of each of the Debtors on July 3, 2019 and is no longer
involved in the management of the Debtors or their businesses.

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                             IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

In re:                                              )     Chapter 11
                                                    )
Blackjewel, L.L.C., et al.,                         )     Case No. 19-bk-30289
                                                    )
                            Debtors.1               )     (Joint Administration Requested)
1
  The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer
identification number are as follows: Blackjewel, L.L.C. (0823); Blackjewel Holdings L.L.C.
(4745); Revelation Energy Holdings, LLC (8795); Revelation Management Corporation
(8908); Revelation Energy, LLC (4605); Dominion Coal Corporation (2957); Harold Keene Coal
Co. LLC (6749); Vansant Coal Corporation (2785); Lone Mountain Processing, LLC (0457);
Powell Mountain Energy, LLC (1024) and Cumberland River Coal LLC (2213). The headquarters
for each of the Debtors is located at 1051 Main Street, Milton, West Virginia 25541-1215.

         11.      The Debtors also seek the Court’s directive that a separate docket entry be made on

the docket of each of the Debtors’ New Cases, substantially similar to the following:

                  An order has been entered in this case directing the procedural
                  consolidation and joint administration of the chapter 11 cases of
                  Blackjewel, L.L.C. (0823); Blackjewel Holdings L.L.C. (4745);
                  Revelation Energy Holdings, LLC (8795); Revelation Management
                  Corporation (8908); Revelation Energy, LLC (4605); Dominion Coal
                  Corporation (2957); Harold Keene Coal Co. LLC (6749); Vansant Coal
                  Corporation (2785); Lone Mountain Processing, LLC (0457); Powell
                  Mountain Energy, LLC (1024) and Cumberland River Coal LLC (2213).
                  All further pleadings and other papers shall be filed in, and all further
                  docket entries shall be made in, the chapter 11 case of Blackjewel, L.L.C.
                  – Case No. 19-bk-30289.

                                 BASIS FOR RELIEF REQUESTED

         12.      Bankruptcy Rule 1015(b) allows the Court to order joint administration “[i]f . . .

two or more petitions are pending in the same court by or against . . . a debtor and an affiliate.”




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Fed. R. Bankr. P. 1015(b). Moreover, Local Rule 1015-1 also permits joint administration of cases

if it “will ease the administrative burden for the Court and the parties.” Local Rule 1015-1(b).

         13.      The Debtors are “affiliates” as that term is defined in 11 U.S.C. § 101(2). Also,

joint administration will eliminate the need to draft, replicate, file, and serve duplicative notices,

applications, and orders and will, therefore, save the Debtors and their estates considerable time

and expense. Joint administration will allow the Office of the Clerk of the United States

Bankruptcy Court for the Southern District of West Virginia (the “Clerk” or the “Clerk’s Office”)

to use a single docket for each of the chapter 11 cases and enable the Clerk to combine notices to

creditors and parties in interest in the Debtors’ respective chapter 11 cases, relieve the Clerk from

entering duplicative orders and relieve the Clerk from maintaining duplicative files and dockets.

         14.      Joint administration will also benefit the United States Trustee’s Office and other

parties in interest by sparing them the time and expense associated with reviewing duplicative

pleadings and papers and enabling them to stay apprised of all the various matters before the Court.

         15.      Numerous motions, applications and other pleadings are expected to continue to be

filed in the chapter 11 cases that will affect each of the Debtors. Joint administration will allow

counsel to the various parties in interest to use a single caption for the many pleadings that will be

filed and served in the chapter 11 cases.

         16.      Joint administration will not adversely affect the rights of any of the Debtors’

creditors or other parties in interest because this motion seeks the consolidation of the Debtors’

estates for procedural purposes only. Moreover, the New Cases are not operating companies.

Instead, these subsidiaries are either dormant companies with limited assets or permit holders that

were not filed on the Petition Date with the Original Cases due to the expedited nature of filing




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these chapter 11 cases. This motion does not seek substantive consolidation. Accordingly, each

creditor may still file its claim against a particular Debtor’s estate.

         17.      The Debtors will also realize substantial cost savings and reduced administrative

burdens by sending a single set of notices to a single creditor matrix and Bankruptcy Rule 2002

list, as opposed to utilizing multiple sets of notices to multiple notice lists. Joint administration

will simplify all aspects of the administration of the above-captioned cases and result in substantial

cost savings to the Debtors and other parties in interest.

         18.      For the foregoing reasons, the Debtors submit that the relief requested herein is

necessary, appropriate and in the best interest of the Debtors, their creditors and their estates and

that the motion should therefore be granted.

                                               NOTICE

         19.      The Debtors, with the assistance of their proposed claims and noticing agent, will

provide notice of this motion by email and/or fax to: (i) the Office of the United States Trustee for

the Southern District of West Virginia; (ii) the Debtors’ prepetition secured lenders; (iii) the

creditors appearing on the Debtors’ consolidated list of top 30 unsecured creditors; (iv) the Office

of the United States Attorney for the District of West Virginia; (v) the Internal Revenue Service;

(vi) any local, state, or federal agencies that regulate the Debtors’ businesses, (vii) counsel to

Riverstone Credit Partners – Direct, L.P., Bailey & Glasser LLP, (viii) counsel to United Bank,

Inc., Steptoe & Johnson PLLC, (ix) counsel to Highbridge Capital Management, LLC and

Whitebox Advisors LLC, Paul, Weiss, Rifkind, Wharton & Garrison LLP, (x) counsel to Contura

Energy, Inc., David Polk & Wardwell LLP, (xi) proposed counsel to The Official Committee of

Unsecured Creditors, Whiteford Taylor & Preston, LLP; and (xii) all parties requesting notices




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pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief

requested, no other or further notice need be given.


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         WHEREFORE, the Debtors respectfully request that the Court enter an order,

substantially in the form attached hereto as Exhibit A, granting the relief requested herein and

such other and further relief as is just.



 DATED: July 24, 2019                          SUPPLE LAW OFFICE, PLLC



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                                                 – and –

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                                                Debtors-in-Possession




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